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Debtor: Lordstown EV Corporation                                        Case No. 23-10832 (MFW)
                                                                        Reporting Period: December 2023

        General Notes to Monthly Operating Report and Supporting Documentation

The Debtors have prepared the MOR with the assistance of their advisors and professionals solely for
the purpose of complying with the reporting requirements applicable to the Chapter 11 Cases. The
financial and supplemental information contained herein is unaudited and is not prepared in
accordance with Generally Accepted Principles in the United States (GAAP) nor in accordance with
securities laws or other applicable non-bankruptcy law. Although the Debtors have made
commercially reasonable efforts to ensure the accuracy and completeness of the MOR, inadvertent
errors or omissions may exist.

The Debtors have historically accounted for and reported (and their accounting systems and practices
were developed to account for and report) assets and liabilities on a consolidated basis and not on an
entity-by-entity basis or Debtor-by-Debtor basis. Moreover, the Debtors’ business has been operated
on a consolidated basis with no allocation of assets and liabilities to different entities. In preparing this
Monthly Operating Report, the Debtors have reported the assets, liabilities, and other information
herein on a deconsolidated basis based on certain assumptions which may or not ultimately be proven
valid. In light of the foregoing, this report is subject to material change and should not be construed as
constituting a definitive determination regarding the allocation of particular assets or liabilities as
among the Debtors (and there is a significant likelihood that such allocation will not be possible). The
rights of all Debtors (and each of their estates) with respect to these issues are reserved.


The amounts reflected for Total Current Assets, Other Assets (Cumulative Funding of / Investment in
Subsidiary, and Total Assets each include, without limitation, the cumulative funding/investment by
Lordstown EV Corporation to or in its subsidiary Lordstown EV Sales LLC. To be clear, the amounts
do not reflect the fair value amount and no fair value analysis or impairment has been conducted with
respect to such funding/investment and any related equity value.


Certain portions of the Debtors' prepetition contingent liabilities reflect disputed liabilities that are
subject to compromise, and all rights of all Debtors are reserved with respect to such liabilities and
their allocation.


            General Notes to Balance Sheet and Statement of Operations Attachments

The December Monthly Operating Reports for Lordstown EV Corporation and Lordstown Motors
Corp. have been amended to reflect the 2023 year-end financial statement adjustments that the Debtors
determined were necessary.
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Debtor:       Lordstown EV Corporation                                                                            Case #:       23-10832

Cash Receipts Listing

  TRX Date                 Received From            Category                                                 Amount         Bank Account Number
12/1/2023 NRTC Equipment Sales Inc.                 Installment proceeds from pre-petition asset sale        50,000.00            7725
12/7/2023 NRTC Equipment Sales Inc.                 Installment proceeds from pre-petition asset sale        50,000.00            7725
12/20/2023 Fisker Group Inc                         Asset Sales                                              30,000.00            7675
12/21/2023 Elaphe Propulsion Technologies LTD       Inventory Reimbursement                                  95,037.20            7675
12/21/2023 Tamaroff Lease                           Asset Sales                                              75,000.00            7675
12/21/2023 PROCURRI LLC                             Asset Sales                                              12,640.00            7675
12/22/2023 Foxconn EV Systems                       Insurance Reimbursement                                  24,863.01            7519
12/22/2023 Employee Sales                           Asset Sales                                               9,460.00            7675
12/22/2023 Employee Sales                           Asset Sales                                               7,900.00            7675
12/26/2023 GAC R D CENTER SILICON VALLEY INC.       Deposit Refund                                           77,467.69            7725
12/28/2023 Paylocity Corporation                    COBRA Reimbursement                                      16,216.15            7675
12/29/2023 JPMorgan Chase Bank, N.A.                Interest                                                    136.59            7736
  Various JPMorgan Chase Bank, N.A.                 Dividend Income                                         403,998.16            4520
                                                    Total Receipts                                          852,718.80
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Debtor:     Lordstown EV Corporation                                                                    Case #:       23-10832

Cash Disbursement Listing

 TRX Date                              Paid To                   Category                        Amount           Bank Account Number

12/1/2023 Paylocity                                              Payroll                     $           49.00          7592
12/4/2023 Amazon Web Services, Inc.                              Other                       $        9,655.22          7675
12/4/2023 Amazon Web Services, Inc.                              Other                       $            7.94          7675
12/6/2023 Paylocity                                              Payroll                     $      112,551.15          7592
12/6/2023 Paylocity                                              Payroll                     $       51,526.19          7592
12/11/2023 Paylocity                                             Payroll                     $          288.45          7592
12/11/2023 Paylocity                                             Payroll                     $           20.00          7592
12/12/2023 Various                                               AP Disbursement 9           $    1,548,301.55          7675
12/13/2023 So Cal Edison Co                                      Utilities                   $        3,266.86          7675
12/13/2023 So Cal Gas                                            Utilities                   $        1,155.19          7675
12/14/2023 Various                                               AP Disbursement 10          $      773,506.20          7675
12/15/2023 Paylocity                                             Payroll                     $        2,629.58          7592
12/15/2023 Paylocity                                             Payroll                     $          777.82          7592
12/15/2023 Paylocity                                             Payroll                     $           89.68          7592
12/15/2023 Amazon Payment Check 9944598                          Other                       $       11,674.88          7675
12/15/2023 Amazon Payment Check 99446124                         Other                       $            7.69          7675
12/18/2023 Paylocity                                             Payroll                     $           85.40          7592
12/20/2023 Paylocity                                             Payroll                     $       93,038.38          7592
12/20/2023 Paylocity                                             Payroll                     $       45,404.30          7592
12/20/2023 Paylocity                                             Payroll                     $       17,261.35          7592
12/20/2023 Paylocity                                             Payroll                     $        8,650.00          7592
12/20/2023 Paylocity                                             Monthly Billing             $          936.47          7592
12/20/2023 Various                                               AP Disbursement 1           $    1,817,432.65          7675
12/20/2023 Various                                               AP Disbursement 2           $      594,697.51          7675
12/21/2023 Paylocity                                             Payroll                     $          173.07          7592
12/21/2023 Paylocity                                             Payroll                     $           20.00          7592
12/21/2023 SAN DIEGO UNIFIED PORT DISTRICT US                    Truck Repurchase            $       60,000.00          7675
12/22/2023 Paylocity                                             Payroll                     $           60.00          7592
12/27/2023 Employee Check                                        Returned Check              $          520.00          7675
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Debtor:     Lordstown EV Corporation                                                                    Case #:       23-10832

Cash Disbursement Listing

 TRX Date                              Paid To                   Category                        Amount           Bank Account Number

12/27/2023 Various                                               AP Disbursement 3           $    1,344,944.90          7675
12/27/2023 Various                                               AP Disbursement 4           $      113,750.00          7675
12/27/2023 Various                                               AP Disbursement 5           $       40,415.17          7675
12/27/2023 PCARD                                                 Other                       $        3,329.20          7725
12/28/2023 Paylocity                                             Payroll                     $       32,318.60          7592
12/28/2023 Paylocity                                             Payroll                     $       15,980.90          7592
12/28/2023 Various                                               AP Disbursement 6           $      661,142.72          7675
12/28/2023 Various                                               AP Disbursement 7           $       39,663.12          7675
12/28/2023 Various                                               AP Disbursement 8           $        1,271.35          7675
12/29/2023 Paylocity                                             Payroll                     $          133.75          7592
12/29/2023 So Cal Edison Co                                      Utilities                   $        2,621.06          7675

                                                                 Total Disbursements              7,409,357.30
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Debtor:       Lordstown EV Corporation                                                                                           Case #:    23-10832

Cash Disbursement Listing - Detail for AP Disbursements


Posting Date Bal. Account No.    Description                                                                           Amount           Category
  12/22/2023 V00080              Baker Hostetler                                                                       $    (67,273.11) Legal
  12/22/2023 V00080              Baker Hostetler                                                                       $ (125,478.45) Legal
  12/22/2023 V00080              Baker Hostetler                                                                       $    (11,375.46) Legal
  12/22/2023 V04430              KPMG LLP                                                                              $    (14,566.20) Consulting
  12/22/2023 V04430              KPMG LLP                                                                              $       (686.68) Consulting
  12/22/2023 V15860              Kurtzman Carson Consultants, LLC                                                      $     (1,205.50) Consulting
  12/22/2023 V15860              Kurtzman Carson Consultants, LLC                                                      $     (1,162.09) Consulting
  12/22/2023 V15860              Kurtzman Carson Consultants, LLC                                                      $     (1,137.87) Consulting
  12/22/2023 V15840              Silverman Consulting, Inc                                                             $    (31,623.19) Consulting
  12/22/2023 V15840              Silverman Consulting, Inc                                                             $     (5,100.85) Consulting
  12/22/2023 V15840              Silverman Consulting, Inc                                                             $    (50,527.60) Consulting
  12/22/2023 V15840              Silverman Consulting, Inc                                                             $    (44,447.30) Consulting
  12/22/2023 V16010              Troutman Pepper Hamilton Sanders LLP                                                  $    (34,305.00) Legal
  12/22/2023 V16010              Troutman Pepper Hamilton Sanders LLP                                                  $    (56,475.00) Legal
  12/22/2023 V16010              Troutman Pepper Hamilton Sanders LLP                                                  $    (39,645.00) Legal
  12/22/2023 V15790              White & Case, LLP                                                                     $ (459,323.40) Legal
  12/22/2023 V15790              White & Case, LLP                                                                     $ (384,707.80) Legal
  12/22/2023 V15790              White & Case, LLP                                                                     $ (262,720.80) Legal
  12/22/2023 V16000              Huron Consulting Group Inc, DBA Huron Consulting Services LLC                         $    (47,107.74) Consulting
  12/22/2023 V16000              Huron Consulting Group Inc, DBA Huron Consulting Services LLC                         $    (43,550.50) Consulting
  12/22/2023 V12460              Winston & Strawn LLP                                                                  $    (96,553.80) Legal
  12/22/2023 V15950              Jefferies Financial Group Inc DBA Jefferies LLC                                       $    (38,459.31) Consulting
                                 Total AP Disbursement 1                                                               $ (1,817,432.65)

  12/22/2023 V16000              Huron Consulting Group Inc, DBA Huron Consulting Services LLC                         $    (127,082.00) Consulting
  12/22/2023 V15840              Silverman Consulting, Inc                                                             $    (222,049.98) Consulting
  12/22/2023 V16010              Troutman Pepper Hamilton Sanders LLP                                                  $    (154,070.33) Legal
  12/22/2023 V16050              Womble                                                                                $     (91,495.20) Legal
                                 Total AP Disbursement 2                                                               $    (594,697.51)

  12/31/2023 V00080              White & Case, LLP                                                                     $ (1,327,225.73) Legal
  12/31/2023 V00440              Deloitte & Touche LLP                                                                 $    (17,719.17) Consulting
                                 Total AP Disbursement 3                                                               $ (1,344,944.90)
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Debtor:       Lordstown EV Corporation                                                                                           Case #:      23-10832

Cash Disbursement Listing - Detail for AP Disbursements


Posting Date Bal. Account No.    Description                                                                           Amount              Category

  12/31/2023 V05170              David Hamamoto                                                                        $     (21,250.00) BOD Fees
  12/31/2023 V05140              Keith Feldman                                                                         $     (17,875.00) BOD Fees
  12/31/2023 V00890              Dale Gene Spencer                                                                     $     (16,750.00) BOD Fees
  12/31/2023 V00590              Jane Reiss                                                                            $     (15,000.00) BOD Fees
  12/31/2023 V14320              Joseph B. Anderson Jr                                                                 $     (15,000.00) BOD Fees
  12/31/2023 V04840              Angela Strand dba Strand Strategy                                                     $     (14,125.00) BOD Fees
  12/31/2023 V14340              Laura Soave                                                                           $     (13,750.00) BOD Fees
                                 Total AP Disbursement 4                                                               $    (113,750.00)

  12/31/2023 V00330              SKYNET INNOVATIONS                                                                    $      (3,872.46) Software
  12/31/2023 V00330              SKYNET INNOVATIONS                                                                    $     (11,196.33) Software
  12/31/2023 V01180              AVI Foodsystems Inc                                                                   $         (45.00) Other
  12/31/2023 V03630              Toppan Merrill USA Inc dba Toppan Merrill LLC                                         $     (14,480.50) Other
  12/31/2023 V05370              Sonitrol Orange County, LLC                                                           $        (382.13) Utilities
  12/31/2023 V06120              Luis Mayen dba Guarantee Details Cleaning dba G.D.C.                                  $      (1,250.00) Utilities
  12/31/2023 V09920              ElectroCycle, Inc                                                                     $         (20.00) Utilities
  12/31/2023 V10440              Infosys Limited                                                                       $      (2,135.00) Consulting
  12/31/2023 V13600              Berkeley Research Group, LLC                                                          $        (700.00) Consulting
  12/31/2023 V15760              TERIS - Phoenix LLC DBA TERIS                                                         $      (6,333.75) Consulting
                                 Total AP Disbursement 5                                                               $     (40,415.17)

  12/29/2023 V16030              M3 Advisory Partners, LP                                                              $    (187,347.79) Consulting
  12/29/2023 V16040              Brown Rudnick LLP                                                                     $    (473,794.93) Legal
                                 Total AP Disbursement 6                                                               $    (661,142.72)

  12/29/2023 V06760              Ricoh USA, Inc                                                                        $      (7,344.04) Rent
  12/29/2023 V03340              Cox Communications California LLC dba Cox Business                                    $     (32,319.08) Utilities
                                 Total AP Disbursement 7                                                               $     (39,663.12)

  12/29/2023 V05260              Armor Holdco, Inc. dba American Stock Transfer & Trust Company, LLC                   $      (1,231.35) Consulting
  12/29/2023 V14870              275 Hills Tech Ventures, LLC                                                          $         (40.00) Rent
                                 Total AP Disbursement 8                                                               $      (1,271.35)
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Debtor:       Lordstown EV Corporation                                                                                      Case #:      23-10832

Cash Disbursement Listing - Detail for AP Disbursements


Posting Date Bal. Account No.    Description                                                                      Amount              Category

  12/11/2023 V16030              M3 Advisory Partners, LP                                                         $ (255,018.66) Consulting
  12/11/2023 V16010              Troutman Pepper Hamilton Sanders LLP                                             $ (159,728.10) Legal
  12/11/2023 V15790              White & Case, LLP                                                                $ (1,050,919.78) Legal
  12/11/2023 V13360              Haynes and Boone, LLP                                                            $     (4,560.00) Legal
  12/11/2023 V12460              Winston & Strawn LLP                                                             $       (742.05) Legal
  12/11/2023 V11800              Nelson Mullins Riley & Scarborough LLP                                           $     (3,374.87) Legal
  12/11/2023 V11060              FOLEY & LARDNER LLP                                                              $       (303.75) Legal
  12/11/2023 V11060              FOLEY & LARDNER LLP                                                              $       (168.75) Legal
  12/11/2023 V11060              FOLEY & LARDNER LLP                                                              $       (483.75) Legal
  12/11/2023 V10150              Sullivan & Cromwell LLP                                                          $    (22,500.00) Legal
  12/11/2023 V00110              Ernst & Young                                                                    $     (5,000.00) Consulting
  12/11/2023 V00080              Baker Hostetler                                                                  $    (45,501.84) Legal
                                 Total AP Disbursement 9                                                          $ (1,548,301.55)


  12/11/2023 V00330              SKYNET INNOVATIONS                                                               $      (3,084.08) Software
  12/11/2023 V00330              SKYNET INNOVATIONS                                                               $     (12,105.92) Software
  12/11/2023 V15980              Intralinks, Inc                                                                  $     (12,339.71) Other
  12/11/2023 V15960              Reliable Copy Service Inc, DBA Reliable Companies                                $         (350.00) Other
  12/11/2023 V15860              Kurtzman Carson Consultants, LLC                                                 $    (718,930.20) Consulting
  12/11/2023 V15800              Lumma Clean LLC                                                                  $       (4,550.00) Other
  12/11/2023 V15530              Cintas Corp - Payer# 21007041                                                    $         (683.41) Other
  12/11/2023 V10440              Infosys Limited                                                                  $       (6,187.10) Consulting
  12/11/2023 V06760              Ricoh USA, Inc                                                                   $         (118.57) Rent
  12/11/2023 V05370              Sonitrol Orange County, LLC                                                      $         (382.13) Utilities
  12/11/2023 V03870              Vestige Ltd dba Vestige Digital Investigations                                   $       (1,388.19) Legal
  12/11/2023 V03530              Detroit Disposal and Recycling LLC                                               $         (160.00) Utilities
  12/11/2023 V03380              Tata Consulting Services Limited                                                 $     (10,170.00) Consulting
  12/11/2023 V03340              Cox Communications California LLC dba Cox Business                               $      (3,056.89) Utilities
                                 Total AP Disbursement 10                                                         $    (773,506.20)
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                               Lordstown EV Corporation
                                     Balance Sheet
                              As of December 31, 2023 (1)



                                    ASSETS
Current Assets
       Cash, Cash Equivalents and Short-term Investments                $      87,095,911
       Accounts Receivable                                                            -
       Inventory, net                                                                 -
       Prepaid Expenses and Other                                               5,043,399

Total Current Assets                                                           92,139,310

Property, Plant & Equipment
       Property, Plant & Equipment, net                                            30,000

Other Assets
       Right of Use Assets                                                            -
       Cumulative Funding of / Investment in Subsidiary                           148,547 (2)
       Receivable from Subsidiary                                                     -

Total Other Assets                                                                148,547 (3)

Total Assets                                                            $      92,317,858 (3)


               LIABILITIES AND SHAREHOLDERS' EQUITY
Current Liabilities
       Accounts Payable - post-petition                                 $         932,567
       Accounts Payable - pre-petition                                          2,830,755     (4)
       Accrued Expenses - post-petition                                        14,466,513
       Accrued Expenses - pre-petition                                         17,175,399     (4)
       Right of Use Liabilities, current                                              -

Total Current Liabilities                                                      35,405,235

Long-Term Liabilities
      Right of Use Liabilities, long-term                                              -
                                                                                       -

Total Long-Term Liabilities                                                            -

Total Liabilities                                                              35,405,235

Shareholders' Equity
       Common Stock                                                                    -
       Additional Paid-In Capital                                            1,171,771,149
       Retained Earnings                                                    (1,114,858,526)

Total Shareholders' Equity                                                     56,912,623

Total Liabilities and Shareholders' Equity                              $      92,317,858




                                    See Notes to Financial Statements
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                     Lordstown EV Corporation
                      Statement of Operations
              For the month ended December 31, 2023




Revenues                                                  $           -

Total Revenues                                                        -

Operating Expenses:
    Employee Expenses                                     $       189,472
    Professional Fees                                              47,874
    Legal Fees                                                (11,414,407)
    Bankruptcy Expenses                                         2,088,001
    Reclassification of Bankruptcy Liabilities                 24,857,160 (4)
    Insurance Expense                                            (491,511)
    Rent Expense                                                   55,549
    Freight Expense                                              (517,857)
    Shop and Misc. Expense                                         33,602
    Office and shop expenses                                      (10,922)
    Other                                                         (23,277)

     Total Operating Expenses                                 14,813,684

Other Income/(Expense):
    Interest and Dividend Income                                  404,135
    Gain/(Loss) on Sale of Assets                                 (30,974)
    Other Income/(Expense)                                        (50,320)

     Total Other Income/(Expense)                                 322,841

Net Income/(Loss)                                         $   (14,490,843)



                      See Notes to Financial Statements
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           Debtor:     Lordstown EV Corporation                       Case No.23-10832 (MFW)
                                                                      Reporting Period: December 2023

                                Specific Notes to Financial Statements


Note (1): The Debtors have historically accounted for and reported (and their accounting systems and
          practices were developed to account for and report) assets and liabilities on a consolidated
          basis and not on an entity-by-entity basis or Debtor-by-Debtor basis. Moreover, the Debtors’
          business has been operated on a consolidated basis with no allocation of assets and liabilities
          to different entities. In preparing this Monthly Operating Report, the Debtors have reported
          the assets, liabilities, and other information herein on a deconsolidated basis based on certain
          assumptions which may or not ultimately be proven valid. In light of the foregoing, this report
          is subject to material change and should not be construed as constituting a definitive
          determination regarding the allocation of particular assets or liabilities as among the Debtors
          (and there is a significant likelihood that such allocation will not be possible). The rights of all
          Debtors (and each of their estates) with respect to these issues are reserved.



Note (2): The amount reflected represents the cumulative funding/investment by Lordstown EV
          Corporation to or in its subsidiary Lordstown EV Sales LLC. The amount does not reflect the
          fair value amount and no fair value analysis or impairment has been conducted.


Note (3): The amount reflected includes, without limitation, the cumulative funding/investment by
          Lordstown EV Corporation to or in its subsidiary Lordstown EV Sales LLC. The amount does
          not reflect the fair value amount and no fair value analysis or impairment has been conducted
          with respect to such funding/investment and any related equity value.


Note (4): In connection with performing the 2023 year-end close, it was determined that a
          reclassification of certain pre-petition liabilities between Lordstown EV Corporation and
          Lordstown Motors Corp. was necessary.
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Debtor:      Lordstown EV Corporation                                                                                      Case #:         23-10832

Schedule of Asset Sales

On November 27, 2023, the bankruptcy court issued an order approving (a) procedures for the sale or other disposition of miscellaneous assets
and (b) the sale or other disposition of miscellaneous assets free and clear of liens, claims, interests, and encumbrances in accordance with
such procedues [Docket No. 737]. Pursuant to such approval order, and upon proper notice of sale, the bankruptcy court issued orders on
December 19, 2023 [Docket No. 839] and December 27, 2023 [Docket No. 870] authorizing and approving the sale of certain of the Debtors'
assets. The proceeds received in December from these approved sales were $135,000.
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In re Lordstown EV Corporation
Case No. 23‐10832
All bank statements and bank reconciliations for the reporting period
Reporting Period: December 1, 2023 to December 31, 2023

The Debtor hereby submits this attestation regarding bank account reconciliations in lieu of providing
copies of bank statements, bank reconciliations and journal entries during December 2023.

The Debtors’ standard practice is to ensure that bank reconciliations are completed before closing the books
each reporting period. I attest that each of the Debtors’ bank accounts has been reconciled in accordance
with their standard practices.

/s/ Adam Kroll                                                            February 28, 2024
Signature of Authorized Individual                                        Date

Adam Kroll                                                                Chief Financial Officer
Printed Name of Authorized Individual                                     Title of Authorized Individual
